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                                 OPINION
Plaintiffs, nine minors referred to in the record as A through I Doe, by their eight guardians referred to in the record as S through Z Doe appeal a summary judgment of the Court of Common Pleas of Richland County, Ohio, entered in favor of defendant First Presbyterian Church (USA) in this action for negligent supervision, negligent retention, and negligent hiring of two church employees who molested the various minor plaintiffs at appellee church. Appellants assign four errors to the trial court:
                          ASSIGNMENTS OF ERROR Assignments of Error No. 1
 The trial court incorrectly entered judgment in Favor ofDefendants as a matter of law because the defendant[sic]failed to meet its burden of specifically pointing toSome evidence demonstrating an absence of genuine issueof material fact.
 Assignment of Error No. 2
 The trial court erred as a matter of law by erroneouslyapplying and interpreting the pleading requirements setforth in Byrd v. Faber In granting summary judgment bymisinterpreting the evidentiary proof required tosurvive *Page 362 summary judgment and the plaintiffs' counts fornegligent hiring, negligent retention and negligentsupervision.
 Assignment of Error No. 3
 The trial court incorrectly granted summary judgment tothe defendants because genuine issues of material factremain in dispute as to whether the defendantnegligently hired and retained child-care givers,whether the defendant negligently supervised employeesand whether the defendant negligently supervisedchildren of tender years entrusted to its care.
Appellants' statement pursuant to Loc. App.R. 4(D) asserts the trial court's judgment is inappropriate both because it is contrary to law and because there are genuine disputes as to material facts.
It appears uncontroverted in the record the various minor appellants were physically and sexually abused by two teenage babysitters employed by appellee church in the church's bathrooms, classrooms, and adjacent property. From 1988 to 1992, Larry Rohde and Scott Butner acted as babysitters or child-care givers for appellee First Presbyterian Church during church services and activities. In 1992, Rohde was convicted of various counts of sexual molestation while Butner pled guilty to sexual molestation. Both Rohde and Butner are incarcerated.
Appellants argued the church instituted few or no procedures for hiring, retention, or supervision of the teenagers.
The church had a pre-school, a youth service, a Sunday School, Bethel, and special activities. When appellee held a function for adults, the children were somewhere else in the church. According to the church policy, there should be at least one adult and a youth at each activity for the children. Also, at the Sunday morning service, at the end of the children's message, the children would leave the sanctuary and go to classrooms. The Director of Christian Education trained the Sunday school teachers, supervised the church activities, and made sure there was adequate supervision at the worship hour. The Director of Christian Education and Children's Ministries was in charge of the hiring, training, and supervision of the church's employees, including recruiting them and putting them on the list as caregivers and babysitters.
The thrust of appellants' negligent action against the church concerned Scott Butner. Appellants argue if the church had adequately screened Scott Butner, it would have discovered certain risk indicators which would put the church on notice Butner was not suitable to be around young children. The risk factors appellants identify concern incidents in Butner's home and school. Specifically, Butner was an emotionally troubled student and the school was aware of some sort of letter Butner had authored expressing violent sexual *Page 363 
fantasies about a girl. The record indicates the girl in the fantasies was not a young child. Butner had also engaged in a fight at school. There is also evidence in the record  Butner's sister had accused their father of sexually molesting her.
From the early 1980's to 1990, the Director of Christian Education was Virginia Hardman, and thereafter, the Director of Christian Education was Sue Love. At her deposition, Hardman admitted knowing Butner, and believed he was socially maladjusted. Hardman characterized Butner as a "sad little boy". Both Hardman and Love deposed they were not aware any child had every been alone with any youth assistant in a classroom, a bathroom, or the woods. To the contrary, unwritten church policy provided there should always be an adult present.
The record indicates on numerous occasions, Butner and Rohde engaged in violent physical, and appalling sexual, activities with children on the church property.
Civ.R. 56(C) states in pertinent part:
  Summary judgment shall be rendered forthwith if the pleading, depositions, answers to interrogatories, written admissions, affidavits, transcripts of evidence in the pending case, and written stipulations of fact, if any, timely filed in the action, show that there is no genuine issue as to any material fact and that the moving party is entitled to judgment as a matter of law. No evidence or stipulation may be considered except as stated in this rule. A summary judgment shall not be rendered unless it appears from such evidence or stipulation and only therefrom, that reasonable minds can come to but one conclusion and that conclusion is adverse to the party against whom the motion for summary judgment is made, such party being entitled to have the evidence or stipulation construed most strongly in his favor. A summary judgment, interlocutory in character, may be rendered on the issue of liability alone although there is a genuine issue as to the amount of damages.
A trial court should not enter summary judgment if it appears a material fact is in genuine dispute, nor if, construing the allegations most favorably towards the non-moving party, reasonable minds could draw different conclusions from the undisputed facts, Hounshell v. American States Insurance Company
(1981), 67 Ohio St.2d 427 at 433. A trial court may not resolve ambiguities in the evidence presented, Inland Refuse TransferCompany v. Browning-Ferris Industries of Ohio, Inc. (1984),15 Ohio St.3d 121. A reviewing court reviews a summary judgment by the same standard as the trial court did, Smiddy v. The WeddingParty, Inc. (1987), 30 Ohio St.3d 35. In the recent case ofVahila v. Hall (1997), *Page 364 77 Ohio St.3d 241, the Supreme Court explained the procedural development of a motion for summary judgment. First, the party seeking summary judgment must disclose the basis for the motion and support the motion with evidence, Vahila at 421, citingHarless v. Willis Day Warehousing Company (1978),54 Ohio St.2d 64 at 66; Hamlin v. McAlpin Company (1964),175 Ohio St. 517, 519-520. In Dresher v. Burt (1996), 75 Ohio St.3d 280,295, the Supreme Court limited paragraph three of its syllabus, announced in Wing v. Anchor Media,, Ltd of Texas (1991),59 Ohio St.3d 108. In Dresher, the Supreme Court noted a moving party bears the initial burden of identifying evidence in the record that demonstrates the absence of genuine issue of material fact on the essential elements of the non-moving party's case. The moving party cannot simply make an assertion its opponent has no evidence to prove its case. If the moving party meets its burden, the non-moving party then has a reciprocal burden, as set forth in Civ.R. 56(E), to set forth specific facts showing there is a genuine issue for trial. Vahila at 429.
Originally, appellee filed a motion to dismiss pursuant to Civ.R. 12(B)(6). The court, sua sponte, converted the motion to dismiss to a motion for summary judgment. Against this legal and procedural backdrop, we review this action.
                                    I
In their first assignment of error, appellants urge the trial court incorrectly applied the rule of law enunciated in Byrd v.Faber (1991), 57 Ohio St.3d 56. In Byrd, the Ohio Supreme Court held a plaintiff bringing a negligent hiring claim against a religious institution must plead operative facts with particularity to show the individual hired had a past history of criminal, tortious, or otherwise dangerous conduct about which the religious institution knew or could have discovered through reasonable investigation. The rationale behind the Byrd rule is to limit the State's assessment of a religious institution's hiring practices because the practices may be infused with religious tenants. The courts may be asked to violate First Amendment Rights. Appellants argue the Byrd pleading standard is specifically directed to a motion made pursuant to Civ.R. 12(B)(6), and does not apply to motions for summary judgment.
We find appellants are partially correct. Byrd enunciates the elements of the tort, and to this extent, the Byrd rule applies. Appellants must show appellee knew or could have discovered these teenage boys had a past history of criminal, tortious, or otherwise dangerous conduct, or *Page 365 
appellee could have discovered such facts through reasonable investigation. To this extent, we hold Byrd applies.
Having said this, however, we find the Byrd pleading standard does not apply to motions for summary judgment. The rationale forByrd is to prevent unwarranted disclosure of appellee's hiring practices. Byrd provides a mechanism whereby a church's hiring practices are shielded from discovery. In order to respond to the motion for summary judgment, appellants deposed both Hardman and Love, the persons appellee charged with selecting the babysitters. When the trial court converted the motion to dismiss to a motion for summary judgment, it took the action from the pleadings stage into discovery and depositions. Thereafter, any information the Byrd specificity of pleadings rule might have shielded was discovered and placed into the record.
A trial court should conduct a Byrd review of the pleadings solely on the pleadings and, if necessary, prior to determining if it is appropriate to convert a Civ.R. 12 motion to one under Civ. R. 56.
We find the trial court properly looked to the Supreme Court's holding in Byrd v. Faber, supra, in order to determine what appellants were required to plead and prove in order to prevail in their action. However, we also find on a motion for summary judgment, it is inappropriate for the court to utilize the Civ.R. 12(B)(6) standard.
The first assignment of error is sustained.
                                   II
In their second assignment of error, appellants argue the trial court erred as a matter of law in applying Byrd v. Faber, by misinterpreting the evidentiary proof required to survive summary judgment in the counts for negligent hiring, negligent retention, and negligent supervision. We disagree. As we noted supra, Byrd
sets forth the element appellants must prove to prevail. Pursuant to Vahila, supra, a trial court correctly requires the non-movant to produce evidence on any issue for which he carries the burden of proof after the moving party has identified the issue in its motion for summary judgment, and met its burden of presenting evidence tending to show the non-moving party has no evidence to prove its case.
The second assignment of error is overruled.
                                   III
In their third assignment of error, appellants argued genuine issues of material fact remain in dispute regarding whether appellee negligently hired and *Page 366 
retained Rohde and Butner, negligently supervised them, and negligently supervised the children participating in the church activities.
The trial court noted appellants had presented nothing regarding Larry Rohde.
In regard to hiring Scott Butner, the court reviewed the evidence Ms. Hardman had known Scott Butner since he was a little boy. She admitted he was a "sad little boy" who was not socially adept and appeared to need affection. In 1984, the church pastor had learned Scott's sister Amy had accused her father of sexually abusing her. Appellants argued to the court the church should have checked with Butner's high school guidance counselor. Appellants argued the counselor would have told the church the counselor thought Butner was a "nerd", the school had confiscated a letter Butner had written a about an unspecified sexual fantasy not involving children; and Butner's mother had experienced trouble getting him to go to school. The court noted "the plaintiffs do not explain how the church was supposed to know the guidance counselor had this information or to convince him to give it to them." Opinion of June 13, 1997, at 7.
The trial court found the factual allegations were insufficient as a matter of law to support a finding of negligent hiring, and we agree. Appellants have not demonstrated the church knew or should have known the existence of this evidence and have not demonstrated a reasonable person in the church's situation would have understood the evidence indicated Butner presented a danger to small children. Appellants have not shown the school could have divulged the information to the church prior to the regrettable incident with the children. Byrd requires appellants show the church knew or with reasonable diligence should have known of criminal, tortious, or dangerous conduct. We find this information does not rise to the required level.
However, after Butner had worked with the school for some time, it appears the church became aware of problems with his performance. Reasonable minds could differ on the issue of whether this should have influenced the church's retention and supervision of Butner. It appears from the record, one parent complained to Hardman he observed Butner playing rather roughly with children. Love either observed or was informed that Butner let a child sit on his lap, which she felt was inappropriate. Hardman also testified she observed him conversing with another teenager when he should have been attending to the children. As a result, Hardman forbade him from being around little children, and Love required Butner to repeat the caregiver classes. Butner's mother intervened, and Hardman then allowed Butner to assist but only when his mother was the adult caregiver whom he assisted. The church had a policy of *Page 367 
requiring an adult be present with the teenage caregivers, but it appears clear from the record Butner and Rohde managed to circumvent this policy on numerous occasions, with appalling and disastrous results.
The trial court appeared to combine the counts of negligent hiring, retention, and supervision altogether. We find this was erroneous. While we agree with the trial court there was insufficient information available to the church at the time of the hiring, nevertheless, the situation as it evolved provided the church with further information about Butner. We find reasonable minds could differ regarding whether the church acted appropriately in retaining and supervising Butner given the emerging facts which it knew or should have known, and also could differ regarding whether the church negligently supervised the children entrusted to it. Accordingly, we conclude on the issues of negligent retention and supervision, the court improperly entered summary judgment.
The third assignment of error is sustained in part and overruled in part.
                                   IV
In their final assignment of error, appellants argue the trial court erred as a matter of law in granting summary judgment on the issue of punitive damages, because the pleadings and evidence demonstrate appellee behaved in such conscious disregard for the rights and safety of the minor plaintiffs and their guardians. Appellee asserts in order to demonstrate conduct worthy of a punitive damage award, a plaintiff must show hatred, ill will, spirit of revenge, outrageous behavior, or willful indifference to the rights and safety of others, see Preston v.Murty (1987), 32 Ohio St.3d 334.
Appellants argue the question of whether appellee's conduct warranted an award of punitive damages is an issue for the trier of fact when considering the evidence presented at trial on this matter. In fact, the trial court held punitive damages are not recoverable in  negligence actions, and this is not true as a perse rule. In Stephens v. A-Able Rents Company  (1995), 101 Ohio App.3d 20, the Court of Appeals for Cuyahoga County found punitive damages may be recoverable in a negligent hiring action. As the appeals court noted, proof of actual malice is necessary for an award of punitive damages, citing Preston, supra.
We find reasonable minds could differ regarding whether appellee's conduct demonstrated a conscious disregard for appellants' rights and safety having a great probability of substantial harm.
In Stephens, supra, the employer put forth very little effort to determine whether the person it had hired was trustworthy to enter  customer's homes. In Stephens, the employer failed to investigate the employee's background, and failed *Page 368 
to discover the employee abused crack-cocaine. Stephens at 27. The Cuyahoga County Court of Appeals found the employer's failure to investigate this issue constituted conscious disregard for safety of its customers, with substantial probability of great harm, which unfortunately  befell one of the customers.
Here, the record is clear appellee appreciated the fact it was dealing with very young children, and the court apparently believed this was sufficient as a matter of law to demonstrate appellee was not wantonly careless in its handling of these children. We find this presents a jury issue, and the trial court improperly granted summary judgment on this issue.
The fourth assignment of error is sustained.
For the forgoing reasons, the judgment of the Court of Common Pleas of Richland County, Ohio, is affirmed in part and reversed in part, and the cause is remanded to that court for further proceedings on the issues of negligent retention, negligent supervision, and punitive damages.
By Gwin, J., Farmer, P.J., and Reader, J., concur.
For the reasons stated in the Memorandum-Opinion on file, the judgment of the Court of Common Pleas of Richland County, Ohio, is affirmed in part and reversed in part, and the cause is remanded to that court for further proceedings in accord with law and consistent with this opinion. Costs to appellee.